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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                    AUSTIN DIVISION

RICHARD MEYER,                                   §
                                                 §
       Plaintiff,                                §
                                                 §          CASE NO. 1:18-CV-00800-LY
v.                                               §
                                                 §
MARK WAID,                                       §
                                                 §
       Defendant.                                §


               UNOPPOSED MOTION FOR EXTENSION OF TIME TO
            FILE ANSWER OR MOTION PURSUANT TO FED. R. CIV. P. 12

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       1.      Defendant Mark Waid (“Defendant”) was served by Richard Meyer (“Plaintiff”) in

this case on September 21, 2018. Defendant’s deadline to file his answer or a motion pursuant to

Fed. R. Civ. P. 12 is October 12, 2018.

       2.      Defendant requests that the Court extend the deadline for Defendant to file his

answer or a motion pursuant to Fed. R. Civ. P. 12 by three weeks, until November 2, 2018.

       3.      Defendant requests the extension to allow him sufficient time to prepare his answer

or a motion pursuant to Fed. R. Civ. P. 12.

       4.      This motion has been filed prior to the expiration of Defendant’s deadline to file

his answer or a motion pursuant to Fed. R. Civ. P. 12.

       5.      Certificate of Conference: Counsel for Defendant, Beverly Reeves, has conferred

with counsel for Plaintiff, Dan Byrne, regarding the relief requested in this motion. Plaintiff

consents to the proposed extension requested in this motion.
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       WHEREFORE, PREMISES CONSIDERED, Defendant respectfully requests that the

Court sign the attached order granting the extension requested herein.

                                                      Respectfully submitted,

                                                      REEVES & BRIGHTWELL LLP


                                                      /s/ Beverly Reeves
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                                                      ATTORNEYS FOR DEFENDANT
                                                      MARK WAID




                                CERTIFICATE OF SERVICE

       I hereby certify that on the 9th day of October 2018, a true and correct copy of the foregoing

document was sent via CM/ECF electronic filing and/or U.S. mail to the following:

               Daniel H. Byrne
               Dale L. Roberts
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                                                       /s/ Beverly Reeves
                                                       Beverly Reeves



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